   Case 1:17-cv-01626-RGA Document 1 Filed 11/09/17 Page 1 of 9 PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC,          §
                                    §
      Plaintiff,                    §                Case No:
                                    §
vs.                                 §                PATENT CASE
                                    §
NAPCO SECURITY TECHNOLOGIES, §
INC.                                §
                                    §
      Defendant.                    §
___________________________________ §

                                           COMPLAINT

       Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “RBDS”) files

this Complaint against Napco Security Technologies, Inc. (“Defendant” or “Napco”) for

infringement of United States Patent No. 8,856,221 (hereinafter “the ‘221 Patent”).

                              PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States

Code. Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with an office at 1400 Preston

Road, Suite 400, Plano, Texas 75093.

       4.      On information and belief, Defendant is a Delaware corporation with its

principal place of business at 333 Bayview Ave., Amityville, NY 11701.

       5.      On information and belief, this Court has personal jurisdiction over Defendant




PLAINTIFF’S COMPLAINT AGAINST NAPCO SECURITY TECHNOLOGIES, INC.                         PAGE | 1
   Case 1:17-cv-01626-RGA Document 1 Filed 11/09/17 Page 2 of 9 PageID #: 2




because Defendant has committed, and continues to commit, acts of infringement in this

District, has conducted business in this District, and/or has engaged in continuous and

systematic activities in this District.

        6.      On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                              VENUE

        7.      Venue is proper pursuant to 28 U.S.C. § 1400(b) because Defendant is deemed

to reside in this District because it is a Delaware corporation.

                                  COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO 8,856,221)

        8.      Plaintiff incorporates paragraphs 1-7 herein by reference.

        9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.     Plaintiff is the owner by assignment of the ‘221 Patent with sole rights to

enforce the ‘221 Patent and sue infringers.

        11.     A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast

Content in a Cloud-based Computing Environment,” is attached hereto as Exhibit A.

        12.     The ‘221 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

        13.     On information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘221 Patent by making, using, importing,

selling, and/or offering for media content storage and delivery systems and services covered by

one or more claims of the ‘221 Patent.

        14.     Defendant sells, offers to sell, and/or uses media content storage and delivery



PLAINTIFF’S COMPLAINT AGAINST NAPCO SECURITY TECHNOLOGIES, INC.                              PAGE | 2
   Case 1:17-cv-01626-RGA Document 1 Filed 11/09/17 Page 3 of 9 PageID #: 3




systems and services, including, without limitation, the Napco security camera system and its

components (e.g., Napco security cameras, such as the ISV2-CAM Wi-Fi Fixed Camera, the

ISV2-PT Wi-Fi P/T Camera, and the ISV2-DOME Wi-Fi Mini Dome Camera), the iBridge

apps, and any similar products (“Product”), which infringes at least Claim 1 of the ‘221 Patent.

       15.     The Product includes a system for media content storage and delivery (e.g.,

videos captured from the Product’s security cameras can be stored and delivered to a

smartphone or other computing platform). Certain aspects of this and other elements described

herein are illustrated in the screenshots below.




PLAINTIFF’S COMPLAINT AGAINST NAPCO SECURITY TECHNOLOGIES, INC.                           PAGE | 3
  Case 1:17-cv-01626-RGA Document 1 Filed 11/09/17 Page 4 of 9 PageID #: 4




PLAINTIFF’S COMPLAINT AGAINST NAPCO SECURITY TECHNOLOGIES, INC.       PAGE | 4
   Case 1:17-cv-01626-RGA Document 1 Filed 11/09/17 Page 5 of 9 PageID #: 5




       16.     The Product necessarily includes at least one server for hosting and storing

media content for customers. For example, the Product necessarily includes at least one server

(e.g., a cloud server) to store recorded security videos.

       17.     The at least one server necessarily includes a first receiver configured to receive

a request message including data indicating requested media content (e.g., the server must have

infrastructure to receive a request to store recorded security videos or to stream recorded video

on a smartphone; additionally, the request message must contain data that identifies the video

to be stored or streamed) and a consumer device identifier corresponding to a consumer device



PLAINTIFF’S COMPLAINT AGAINST NAPCO SECURITY TECHNOLOGIES, INC.                            PAGE | 5
   Case 1:17-cv-01626-RGA Document 1 Filed 11/09/17 Page 6 of 9 PageID #: 6




(e.g., the user credentials are used to tie a smartphone and user account to particular cameras

and the videos they produce).

       18.     The Product necessarily includes a processor to determine whether the

consumer device identifier corresponds to the registered consumer device (e.g., the server must

authenticate a user’s credentials to ensure that the credentials match those registered with a

security camera which the user would like to access).

       19.     The Product provides for both media downloads and/or storage, and media

streaming. A processor within the Product necessarily determines whether the request received

from a customer is a request for storage (e.g., recording or storing content) or content (e.g.,

streaming of media content). The Product necessarily differentiates, via a processor, a user’s

request to store videos from a user’s request to stream live content from the security camera.

       20.     The server verifies that media content identified in the media data of the storage

request message (e.g., request to record content) is available for storage in order to prevent data

errors that would result from attempting to store content that is not available for storage. For

example, the server must verify that the media content (e.g. specific recording from a specific

camera) identified in the media data of the storage request message is available for storage in

order to prevent data errors that would result from attempting to store content that is not

available for storage.    Also, the server must verify that a particular security camera is

adequately connected to the Internet as to allow for video recording and storage on the cloud.

       21.     If a customer requests content (e.g., live streaming of media content), then a

processor within the Product necessarily initiates delivery of the content to the customer’s

device. The server will initiate delivery of the requested media content to the consumer device

(e.g. stream live camera feed to a smartphone or tablet) if the request message is a content




PLAINTIFF’S COMPLAINT AGAINST NAPCO SECURITY TECHNOLOGIES, INC.                             PAGE | 6
   Case 1:17-cv-01626-RGA Document 1 Filed 11/09/17 Page 7 of 9 PageID #: 7




request message (e.g. request for live streaming).

          22.   The media data includes time data that indicates a length of time to store the

requested media content (e.g., a user is allowed to store videos for up to 7 days).

          23.   The server must first determine whether the requested media content exists prior

to initiating delivery in order to prevent data errors that would result from attempting to

transmit media content that does not exist (e.g., the server must verify that a particular security

camera is adequately connected to the Internet as to allow for video recording and streaming).

          24.   After the processor determines whether the requested media content is

available, it determines whether there are restrictions associated with the requested media

content (e.g., storage limits, component protocols, etc.).

          25    Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this Court.

          26.   Defendant’s actions complained of herein is causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          27.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                    PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receives notice

of the order from further infringement of United States Patent No. 8,856,221 (or, in the




PLAINTIFF’S COMPLAINT AGAINST NAPCO SECURITY TECHNOLOGIES, INC.                             PAGE | 7
   Case 1:17-cv-01626-RGA Document 1 Filed 11/09/17 Page 8 of 9 PageID #: 8




alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

       (c)    Award Plaintiff damages resulting from Defendant’s infringement in

accordance with 35 U.S.C. § 284;

       (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

       (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled

under law or equity.




PLAINTIFF’S COMPLAINT AGAINST NAPCO SECURITY TECHNOLOGIES, INC.                          PAGE | 8
  Case 1:17-cv-01626-RGA Document 1 Filed 11/09/17 Page 9 of 9 PageID #: 9




Dated: November 9, 2017               Respectfully submitted,


                                      /s/ Stamatios Stamoulis
                                      STAMATIOS STAMOULIS
                                      State Bar No.
                                      STAMOULIS & WEINBLATT LLC
                                      Two Fox Point Centre
                                      6 Denny Rd.
                                      Suite 307
                                      Wilmington, DE 19809
                                      (302) 999-1540
                                      stamoulis@swdelaw.com

                                      ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S COMPLAINT AGAINST NAPCO SECURITY TECHNOLOGIES, INC.       PAGE | 9
